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                                AFFIDAVIT OF KRIS JONES

STATE OF MISSISSIPPI
COUNTY OF HINDS

       PERSONALLY CAME and appeared before me, the undersigned authority in and for

said county and state, within my jurisdiction, the within named KRIS JONES, who, having been

duly sworn by me, states on oath the following:

        1.     My name is Kris Jones.

       2.      I am over the age of 21.

       3.      I am competent to address the matters set forth below in this Affidavit.

       4.      The matters set forth in this Affidavit are based on my personal knowledge and

the business records of the Mississippi Department of Child Protection Services ("MDCPS" or

"Agency") and its predecessor the Mississippi Department of Human Services Division of

Family and Children's Services ("DFCS") and are true and correct to the best of my knowledge,

information and belief.

       5.      I am familiar with the Stipulated Third Remedial Order ("STRO") which was

entered in December 2016 in the Olivia Y litigation. I am also familiar with the 2nd Modified

Settlement Agreement ("2nd MSA") which was entered as a consent order in the Olivia Y

litigation in December 2016 and which became effective on January 1, 2018.

       6.      I am the Deputy Commissioner of Administration for the Mississippi Department

of Child Protection Services. I have served in this positon since September 2018. A true and

correct copy of my current resume is attached to this Affidavit as Exhibit "A".

       7.      In my role as Deputy Commissioner of Administration, I have primary

responsibility over the following areas within MDCPS: human resources, finance, contracting,



                                                                                          EXHIBIT
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procurement, subgrants, professional development, centralized intake, and information

technology.

       8.     Before being selected and promoted to serve as the MDCPS Deputy

Commissioner for Administration, I served as Director of Human Resources for MDCPS.

       9.     I am a certified public manager and a graduate of the John C. Stennis Institute of

Government. I have a Bachelor of Science in Education and a Master of Social Work.

       10.    I have worked in state government for more than 20 years, most of that time with

the Mississippi Department of Mental Health ("MDMH"). At MDMH, I held a variety of

positions, including Director of the Bureau of Contract Management; Director of the Bureau of

Quality Management, Operations, and Standards; Interim Director of the Bureau of Intellectual

and Developmental Disabilities; Director of the Division of Disaster Preparedness, and

Coordinator of Community Support Programs within the Division of Children/Youth.

       1 1.   MDCPS has increased caseworker salaries and wages to improve caseloads in

Mississippi. In addition, MDCPS has created and implemented a Hiring Priority Committee

composed of senior MDCPS executives. The committee meets weekly to assess caseworker

need and to make hiring and case assignment decisions.

       12.    I have also reviewed and summarized recent MDCPS's achievements and

improvements. These achievements and improvements include the following: (a) Consolidating

all MDCPS management staff in a central location at 750 North State Street in Jackson,

Mississippi; and (b) Bringing all new hire and staff training in house. Under the in-house

training program, new MDCPS caseworkers receive a minimum of 270 hours of pre-service

training and new MDCPS supervisors receive a minimum of 24 hours of pre-service training.




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        13.    The 2nd MSA recognizes that the MACWIS database system reporting capacity

was limited given the age and capabilities of the system. For this reason, the 2nd MSA included

several requirements that would improve MDCPS's data reporting capacity over time. The first

and foremost of these requirements was that MDCPS would eventually replace its MACWIS

system with a new Comprehensive Child Welfare Information System ("CCWIS") by June 30,

2021.

        14.    CCWIS is partially funded with 50% federal financial participation rate for the

development of modern child welfare data systems meeting certain specifications identified by

the federal government. Every CCWIS project must be conducted pursuant to a federally

approved advanced planning document ("APD"). The APD sets forth the project plan, system

design, and anticipated costs.

        15.    MDCPS submitted the CCWIS APD on February 1, 2017.                  The federal

government responded with several requests for additional information and, after receiving that

information, approved MDCPS's CCWIS APD on July 7, 2017 for project work through June

30, 2018. Under this APD, MDCPS planned to build a completely custom-designed CCWIS

system from the ground up — i.e., coded from scratch unless individual pre-existing component

parts were found that could be integrated with the wholly custom portions of the system. This

project plan required significant investment in programmers and other contract resources. This

project was to proceed as an iterative process, wherein individual modules — e.g. intake or case

management — were completed and rolled out in a tiered process that would proceed up until the

2021 deadline. This project was projected to cost more than $60 million.

        16.    Once the APD had been submitted, MDCPS began building its capacity, and

incurring costs for the project, including the addition of programmers and business systems



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analysts to the MDCPS IT staff Contract resources were procured for system design, project

management, and programming. Procurement also proceeded for the vendors that would begin

building the core CCWIS modules in 2018.

        17.     When MDCPS determined that it faced an approximately $52 million deficit in

early January 2018, full implementation of the CCWIS project was delayed and paused because

funds were no longer available to cover the cost of the work. However, state staff were able to

continue planning for the project's future in anticipation of additional funding to continue the

project.

        18.     Because MDCPS received level funding for SFY-2019, CCWIS development

work remained on hold. While development work remained on hold during SFY-2019, MDCPS

reevaluated its project plan and direction and determined that the most reasonable project

direction in terms of cost and risk, and most likely scenario for meeting the litigation deadline,

would come from a customizable and configurable system — i.e., development will begin with an

already developed and functional case management data system, possibly one specifically

designed to meet CCWIS specifications, that is configured to match MDCPS's practice.

        19.    MDCPS's prior project direction increased cost, time, and risk. Under the new

project plan, the CCWIS development is expected to cost approximately $40 million, two-thirds

the cost of the original plan.

       20.     In response to the SFY-2020 appropriation, MDCPS immediately began the work

necessary to get the CCWIS project back on track. Specifically, MDCPS has submitted a draft

request for proposal to Mississippi's Department of Information Technology Services for review,

feedback, and approval. This RFP will procure the vendor and system that is the main

component of the project.



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       21.     MDCPS also has submitted a new APD to the federal government for review and

approval. MDCPS expects to begin development by the beginning of 2020, and to meet the

litigation deadline of June 30, 2021. When the CCWIS system is implemented, many of

MDCPS's data reporting issues should be resolved.

       22.     In November 2018, MDCPS submitted its first annual CQI plan under the 2nd

MSA to the Monitor for review. That plan was reviewed by Plaintiffs and the Monitor,

subsequently approved by the Monitor, and is being implemented by MDCPS in 2019 as

contemplated by Section 1.4 of the 2nd MSA.

       23.     Some of MDCPS's data reporting challenges and the Monitor's inability to

validate certain reports, stemmed from errors in the coding used to set up MDCPS's 2nd MSA

reporting. Because the staff who originally coded these reports are no longer employed by

MDCPS, new data reporting staff has been added, including the former head of data reporting for

another state agency in Mississippi.

       24.     The new staff, together with Deputy Commissioner Davenport, have been

conducting an intensive analysis, which is ongoing, of the coding and business rules behind each

Olivia Y report. Once their initial analysis was completed, initial findings were reported and a

meeting was held between MDCPS and the Monitor to discuss the business rules the Monitor

will use to validate each report. In follow up to that meeting, the MDCPS data reporting team has

begun the long work of rewriting each report to ensure that the data generated matches the

relevant 2nd MSA deliverable and the Monitor's business rules for data validation. This process

is expected to last until the end of 2019. Once the process is completed, all data validation issues

identified by the Monitor should be rectified.

       FURTHER AFFIANT SAYETH NOT,this the j day of                            , 2019.



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